                  Case 23-22360
     Fill in this information               Doc
                              to identify your    1
                                               case:     Filed 06/06/23 Entered 06/06/23 20:53:03                              Desc Main
                                                            Document    Page 1 of 5
     United States Bankruptcy Court for the:

     ____________________
     District of Utah          District of _________________
                                         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                Chapter 7
                                                             
                                                             ✔
                                                             
                                                                 Chapter 11
                                                                 Chapter 12
                                                                                                                                          Check if this is an
                                                                Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                             06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         PolarityTE  MD, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           Majesco   Acquisition II Corp.
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                         of business
                                               1960 S. 4250 W.                                           _______________________________________________
                                            ______________________________________________
                                            Number     Street                                            Number     Street

                                            ______________________________________________               _______________________________________________
                                                                                                         P.O. Box

                                               Salt Lake City                 UT    84104
                                            ______________________________________________               _______________________________________________
                                            City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               Salt Lake County
                                            ______________________________________________
                                            County                                                       _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


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                PolarityTE MD, Inc.
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            3254
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                        recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                        tax return or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                          The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                            of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No               PolarityTE, Inc., a Nevada corp. (to be filed) and
      pending or being filed by a                           PolarityTE, Inc., a Delaware corporation                    Parent
      business partner or an              Yes.    Debtor   _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Distirct of Utah
                                                   District _____________________________________________ When                   06/06/2023
                                                                                                                                __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
                                                                              23-bk-22358-KRA
                                                   Case number, if known ________________________________
      attach a separate list.

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              PolarityTE MD, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               PolarityTE MD, Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000
                                            ✔
                                                                                 $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              06/06/2023
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Richard Hague *
                                                _____________________________________________               Richard Hague
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       President and CEO
                                                Title _________________________________________

                                                  *signature on file


18.   Signature of attorney
                                            /s/ Darren Neilson
                                                _____________________________________________              Date         06/06/2023
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Darren Neilson
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Parsons Behle and Latimer
                                                _________________________________________________________________________________________________
                                                Firm name
                                                201 S. Main Street Suite 1800
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Salt Lake City
                                                ____________________________________________________            UT             84111
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                8015321234
                                                ____________________________________                              dneilson@parsonsbehele.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                15005                                                           UT
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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               PolarityTE MD, Inc.
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 Debtor                                                               _                  Case number (if known)
              First Name     Middle Name      Last Name



                                                   Continuation Sheet for Official Form 201

10) Pending Bankruptcies

PolarityTE, Inc.,    District of Utah                             06/06/2023                       Case No. 23-22358-KRA
a Delaware corporation

PolarityTE, Inc., a Nevada corporation, District of Utah (to be filed)




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy
